                                  CASE 0:22-cr-00076-KMM-TNL Doc. 54 Filed 08/02/22 Page 1 of 1

                                               IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                )         COURT MINUTES - CRIMINAL
                                                         )            BEFORE: JOHN F. DOCHERTY
                                      Plaintiff,         )                U.S. Magistrate Judge
                                                         )
   v.                                                    )   Case No:          22-cr-76 KMM/TNL
                                                         )   Date:             August 2, 2022
Javeyon Demario Tate(4)                                  )   Courthouse:       St. Paul
                      Defendant,                         )   Courtroom:        6A
                                                         )   Time Commenced:   11:12 a.m.
                                                             Time Concluded:   11:27 a.m.
                                                             Time in Court:    15 minutes



X DETENTION HRG ONLY



APPEARANCES:
   Plaintiff: Andrew Luger and Thomas Calhoun-Lopez, U.S. Attorney and Assistant U.S. Attorney
   Defendant: Kenneth Udoibok
                  X CJA


On X Superseding Indictment

X Deft Ordered Detained - Govt to submit proposed order


Additional Information:

Defendant arraigned, see arraignment minutes and order.




                                                                                               s/JAM___________
                                                                                  Signature of Criminal Duty Clerk




M:\templates\Det Prelim Min.wpt                                                                        Template Updated: 06/2013
